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  IT IS ORDERED as set forth below:



  Date: January 11, 2019

                                                        _____________________________________
                                                                   Lisa Ritchey Craig
                                                              U.S. Bankruptcy Court Judge

 _______________________________________________________________
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